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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


                               Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS MDL No. 3060
 LIABILITY LITIGATION
                               Judge Mary M. Rowland

                              CASE MANAGEMENT ORDER NO. 6
                                   (Initial Scheduling Order)

   I.        SCOPE AND APPLICABILITY

          This Initial Scheduling Order is intended to conserve judicial and party resources, eliminate

duplicative discovery, serve the convenience of the parties and witnesses, and promote the just and

efficient conduct of this litigation.      The following protocols and limitations in this Case

Management Order (“CMO”) shall apply in all cases in MDL 3060.

   II.       RULE 26 INITIAL DISCLOSURES

          In accordance with the Joint Status Report dated June 30, 2023, [ECF 125], Automatic

Disclosures pursuant to F.R.C.P. 26(f) for all Defendants shall be due August 7, 2023. Any

Defendant first responding to the Master Long Form Complaint after August 7, 2023 shall serve

Automatic Disclosures pursuant to F.R.C.P. 26(f) within 30 days after their deadline to respond,

unless otherwise agreed to by the parties and the Court. Automatic Disclosures pursuant to

F.R.C.P. 26(f) shall be due for all plaintiffs with a filed case as of June 30, 2023, on August 7,

2023.

   III.      CASE SPECIFIC DISCOVERY

          The Parties shall meet and confer regarding the manner and method of case specific

discovery, including, but not limited to, the scope, content and timing of a Plaintiff Profile Form


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and Defense Profile Form, and be prepared to report to the Court on the state of same at the

August 23, 2023 Case Management Conference.

   IV.     GENERAL FACT DISCOVERY ON DEFENDANTS (BY PLAINTIFFS)

           A. There shall be no general discovery served or propounded on the defendants in this

MDL except that which is from the appointed co-lead counsel or their designees and/or the liaison

counsel of this MDL, absent further Order of the Court.

           B. Responses to Discovery Requests propounded on Defendants shall be responded to

within the time frames set forth in the Federal Rules of Civil Procedure, absent an agreement of

the parties or an Order of this Court.

           C. By agreement of the Parties, responses of Defendants that have appeared in the

action to discovery served prior to the entry of this Order that has not previously been responded

to shall be due on or before August 21, 2023 or on the date required by the Federal Rules of Civil

Procedure, whichever is later.

           D. In advance of the July 6, 2023 status conference, the PSC propounded Rule 30(b)(6)

deposition notices on the following topics upon the following Defendant Groups: the L’Oréal

Defendants (L’Oréal USA, Inc.; L’Oréal USA Products, Inc.; and Softsheen-Carson LLC); the

Strength of Nature Defendants (Strength of Nature, LLC and Godrej Son Holdings, Inc.); the

House of Cheatham Defendants (House of Cheatham, LLC and Beauty Bell Enterprises LLC f/k/a

House of Cheatham, Inc.); Namaste Laboratories, LLC; and Avlon Industries:

                   1. Corporate Organization;

                   2. ESI; and

                   3. Product and Brand Identification.




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The PLC has agreed that the dates for all such notices are withdrawn subject to a meet and confer

with each Defendant on the date and location for such depositions. The parties will continue to

meet and confer over the responses and/or testimony necessary for the categories of information

sought in these Rule 30(b)(6) depositions. Responsive documents will be produced or an agreed

to schedule set forth and/or agreed to depositions dates of any 30(b)(6) witness(es) for deposition

in advance of the Case Management Conference on August 23, 2023 (note the responsive

documents need not be produced and depositions need not be completed by August 23, 2023, just

that the depositions be scheduled before this date).

             E. CMO No. 4 (ECF No. 109) shall govern the manner and method for producing

custodial files requested by the Plaintiffs through the course of discovery.

             F. The Parties are ordered to meet and confer regarding scheduling and make best

efforts to schedule depositions within forty-five (45) days of a notice or request for such deposition,

or as expeditiously as possible.

             G. The parties will engage in any supplemental written and/or deposition discovery as

is necessary and permitted under F.R.C.P. 26(e).

   V.        ADDITIONAL SCHEDULING FOR THESE PROCEEDINGS

        A.      Science Day: The parties shall meet and confer regarding Science Day and will

address Science Day with the Court at the November 17, 2023 Case Management Conference.

        B.      Fact Discovery:    Fact discovery by Plaintiffs and Defendants, including general

discovery and case specific discovery for the cases selected as part of the Bellwether Pool pursuant

to Section V.B. shall be completed by January 17, 2025.

        C.      Bellwether Process: The parties shall meet and confer regarding a plan for moving

cases towards trial, including a plan to select representative cases to serve as bellwether cases to



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undergo additional discovery (beyond the PPF and DPF). This plan shall also include a timeline

by which this limited discovery will occur, as well as a plan and timeline for how these bellwether

cases will be narrowed down to a smaller set of trial cases, that will then undergo preparation for

trial, which should include additional trial discovery, including but not limited to disclosure of

expert witnesses, expert discovery and ultimately dispositive and trial-related motion practice. The

parties will submit this proposed plan via a proposed Case Management Order to the Court on or

before November 10, 2023, unless otherwise agreed to by the parties and approved by the Court.


                                                     E N T E R:


 Dated: July 27, 2023

                                                     MARY M. ROWLAND
                                                     United States District Judge




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